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           Case 3:20-cr-00029-WBS-DLB Document 33 Filed 10/14/20 Page 1 of 3


                                                                        Oct 14, 2020
 1   NICHOLAS A. TRUTANICH
     United States Attorney
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 4   Reno, Nevada 89501
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 5   Peter.Walkingshaw@usdoj.gov

     Representing the United States of America
 6

 7                                UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEVADA
 8
     UNITED STATES OF AMERICA,                         3:20-cr-00029-WBS-DLB
 9
                     Plaintiff,
                                                       STIPULATION TO MODIFY
10                   v.                                CONDITIONS OF PRETRIAL
                                                       RELEASE
11   KEITH LEROY MORENO,

12                   Defendant.

13

14          IT IS HEREBY STIPULATED AND AGREED by and through NICHOLAS A.

15   TRUTANICH, United States Attorney, and PETER WALKINGSHAW, Assistant United States

16   Attorney, counsel for the UNITED STATES OF AMERICA and RENE L. VALLADARES,

17   Federal Public Defender and KATE BERRY, Assistant Federal Public Defender, counsel for

18   KEITH LEROY MORENO, that the terms of the defendant’s conditions of pretrial release shall

19   be modified to add the following condition:

20   ///

21   ///

22           “You must not associate with or have contact with witnesses and potential witnesses, as

23          noted in the charging documents and provided discovery, unless in the presence of

24
          Case 3:20-cr-00029-WBS-DLB Document 33 Filed 10/14/20 Page 2 of 3




1          counsel or otherwise approved by the Court. This condition does not prohibit incidental

2          contact in public places, and does not apply to contact with family members.”

3
     DATED this 29th day of September, 2020.
4

5
        RENE L. VALLADARES                             NICHOLAS A. TRUTANICH
6       Federal Public Defender                        United States Attorney

7
     By /s/ Kate Berry              .              By /s/ Peter Walkingshaw                 .
8       KATE BERRY                                    PETER WALKINGSHAW
        Assistant Federal Public Defender            Assistant United States Attorney
9       Counsel for                                  Counsel for the United States
        KEITH LEROY MORENO
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           Case 3:20-cr-00029-WBS-DLB Document 33 Filed 10/14/20 Page 3 of 3




1                                                ORDER

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            Based on the Stipulation of counsel, and good cause appearing,
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            IT IS THEREFORE ORDERED the terms of the defendant’s conditions of pretrial
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     release shall be modified to add the following condition:
5
            “You must not associate with or have contact with witnesses and potential witnesses,
6
            as noted in the charging documents and provided discovery, unless in the presence of
7
            counsel or otherwise approved by the Court. This condition does not prohibit incidental
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            contact in public places, and does not apply to contact with family members.”
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11
            October 14, 2020
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